    Case: 1:23-cv-03193 Document #: 29 Filed: 06/20/23 Page 1 of 2 PageID #:1377




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MARK GEMMELL,

       Plaintiff,                                                     Case No. 1:23-cv-03193

       v.                                                             Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                   DEFENDANT NO. 115’S UNOPPOSED MOTION
              FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Defendant No. 115 (Shaoxing Tengxiao Import And Export Co., Ltd.) (“Defendant”),

through its attorneys and with the consent of Plaintiff’s counsel, respectfully submits this motion

for an order extending the date for Defendant to respond to the Complaint (Dkt. 1) by ninety (90)

days, to and including September 18, 2023. In support of its motion, Defendant states as

follows:

       1.      On May 22, 2023, Plaintiff filed its Complaint.

       2.      Defendant retained counsel on or about June 12th, 2023.

       3.      Defendant agrees, through its counsel, to accept service of the Summons and

Complaint. and requests an extension of time to answer or otherwise respond to Plaintiff’s

Complaint by ninety (90) days from the current deadline, to and including September 18, 2023,

so that Defendant has sufficient time to investigate and respond to the allegations and so that the

parties may continue settlement discussions.

       4.      Counsel for Defendant has conferred with counsel for Plaintiff, and Plaintiff does

not oppose Defendant’s request.




                                                 1
   Case: 1:23-cv-03193 Document #: 29 Filed: 06/20/23 Page 2 of 2 PageID #:1378




       5.     This is Defendant’s first request for an extension.

       6.     No party will be prejudiced by the requested extension of time.

       WHEREFORE, for the foregoing reasons, Defendant respectfully requests that the Court

enters an order allowing Defendant No. 115 (Shaoxing Tengxiao Import And Export Co., Ltd.)

through and including September 18, 2023 to answer or otherwise respond to the Complaint.



Dated: June 16, 2023                            Respectfully Submitted,

                                                Defendant No. 115 (Shaoxing Tengxiao
                                                Import And Export Co., Ltd.)

                                                By: /s/ Hua Chen


                                                Hua Chen
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